         Case 1:20-cv-07086-VSB Document 11 Filed 12/30/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------ x
                                        :
 YONY SOSA, ON BEHALF OF HIMSELF AND
 ALL OTHER PERSONS SIMILARLY SITUATED​, :
                                        :
                 Plaintiffs,            :                No.: 1:20-cv-7086
                                        :
                    v.                  :
                                        :                NOTICE OF VOLUNTARY
 AMERICAN GOLD EXCHANGE, INC.​,         :                DISMISSAL
                                        :
                                        :
                Defendant.
                                        :
                                        :
 ------------------------------------ x

       Plaintiff(s), YONY SOSA​, in accordance with Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, hereby dismisses the above entitled action against the Defendant, AMERICAN

GOLD EXCHANGE, INC., with prejudice and without fees and costs.

Dated: New York, New York
       December 30, 2020

                                                                      GOTTLIEB & ASSOCIATES

                                                                             /s/Jeffrey M. Gottlieb, Esq.

                                                                  Jeffrey M. Gottlieb, Esq., (JG-7905)
                                                                       150 East 18th Street, Suite PHR
                                                                                 New York, NY 10003
                                                                               Phone: (212) 228-9795
                                                                                  Fax: (212) 982-6284
                                                                                Jeffrey@Gottlieb.legal

                                                                                 Attorneys for Plaintiffs

SO ORDERED:

_____________________________
United States District Court Judge
